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                         IN THE UNITED STATES DISTRICT COURT
                                   EASTERN DISTRICT
                                  SOUTHERN DIVISION


DUANE OWENS and PARTNERS MATTER, LLC                              Case No.

                              Plaintiffs,
                                                                  Hon.
                                                                  Mag.
v.


NORTH AMERICAN BANCARD,                      COMPLAINT FOR FRAUD,
MARC GARDNER and DAVID GREENBERG             FRAUDULENT INDUCEMENT,
                                             TORTIOUS INTERFERENCE
                          Defendants.        WITH BUSINESS OPPORTUNITY,
                                             CIVIL CONSPIRACY, ET AL.
______________________________________________________________________
NATALIE C. QANDAH (P58434)
Vida Law Group, PLLC
Attorneys for Plaintiff
43050 Ford Road, Suite 160
Canton, MI 48187
PH: (734) 456-9004
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_____________________________________/

                        VERIFIED COMPLAINT AND JURY DEMAND

         Plaintiff, Duane Owens (“Owens”) and Plaintiff Partners Matter, LLC (“PM”) (together,

“Plaintiffs”), by and through their undersigned counsel, states the following for his Complaint

and Jury Demand against Defendants North American Bancard (“NAB”), Marc Gardner

(“Gardner”) and David Greenberg (“Greenberg”) (together, “Defendants”):
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                               Parties, Jurisdiction and Venue

1.       Owens is a male individual over the age of 18. At all relevant times, Owens resided

in Milford, State of Michigan. PM is a limited liability company registered to do business in

the State of Michigan.

2.       NAB is a Delaware limited liability company registered to do business in the State of

Delaware.

3.       Gardner is a male individual over the age of 18. At all relevant times, Gardner

resided and engaged in business in the Eastern District of Michigan.

4.       Gardner is the President and Chief Executive Officer (“CEO”) of NAB, and

throughout Owens’ employment and post-employment with NAB, Gardner was acting within

the course and scope of his position as President and CEO, he had power and control over

the terms and conditions of Owens’ employment, he exercised ultimate authority over

Owens’ employment, and he had power and control over the actions that took place pre-

and post-Owens’ employment.

5.       Greenberg is a male individual over the age of 18. Greenberg is a resident of the

State of New York.

6.       Greenberg is the Chief Administrative Officer of NAB, and oversees the legal

department for NAB.

7.       This Court has jurisdiction pursuant to 28 U.S. §1332 and 15 U.S.C. §1121.




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8.        This Court has personal jurisdiction over the Defendants because each resides in or

engages in continuous and systematic business within the State of Michigan and maintains

a substantial physical presence in this State.

9.        Venue is proper pursuant to 28 U.S.C. §1391 because Plaintiffs are located in, and

the unlawful acts alleged in this Complaint occurred within the Eastern District of Michigan.

10.       The amount in controversy exceeds $75,000.00, exclusive of costs, interest and

attorney fees.

11.       This Court has proper jurisdiction over this lawsuit.



                                        Factual Allegations

12.       Plaintiffs incorporates by reference the foregoing paragraphs as though fully set forth

herein.

13.       NAB is a company operating in the payment technology services industry offering its

business merchants a variety of services, including, credit card processing, point of sale, e-

commerce/gateway, mobile payments, and cash advances.

14.       Owens has over 10 years of experience in the point of sale and payment technology

services industry; and over 30 years of experience in the restaurant industry. He is well-

known in these industries, particularly for his expertise in restaurant technology sales,

dealer operations, customer service, relationship management, sales and technical support.

Owens has further developed his own unique proprietary methodology in the area of: (i)



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sales strategy; (ii) vendor relationship development; and (iii) vendor relationship

management.

15.    In 2016, Plaintiff was presented with multiple job opportunities, one of which was an

offer from NAB by and through its wholly owned subsidiary NAB-CDI, LLC (“CDITech”).

16.    On March 28, 2016, NAB offered Plaintiff the position of General Manager of

CDITech (Exh. A, Offer Letter).

17.    Specifically, the Offer Letter describes a compensation schedule as follows:

$125,000.00 annual salary with an incentive plan as follows:


       Base Level EBITDA - $350,000
       $350,000-$1 million – 15% of the incremental EBITDA
       $1 million-$2 million – 10% of the incremental EBITDA
       Over $2 million –To Be Determined
       Program runs through 12/31/2017 with re-evaluation at program end. Pro-rated for
       2016

18.    Owens accepted the position with NAB and started work on May 1, 2016.

19.    During the course of Owens’ employment with NAB he learned that the

compensation schedule which had induced him to accept the position was not attainable.

20.    Though Owens dedicated himself to providing the highest degree of work

commitment, work ethic and deliverables to NAB, including but not limited to creating

approximately four times in more annual revenue during his tenure, he was not provided

with the compensation which induced him to accept the position with NAB.




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21.    Throughout Owen’s tenure with NAB, he received numerous accolades based upon

the performance of his department and projects for which he was responsible.

Owens raised this compensation issue with NAB management on multiple occasions

without explanation from NAB. However, NAB continued to make misrepresentations to

Owens.

22.    In August 2019, NAB finally agreed to increase Owens’ base salary by $50,000 and

also promised to change his bonus schedule to something that was actually attainable.

During the course of this discussion, NAB and Gardner admitted the bonus schedule was

false and not attainable. However, Owens’ new bonus schedule was never implemented.

Owens ultimately determined that, given the intentional false inducements and continued

misrepresentations by NAB, he could not continue to work the kind of hours he devoted to

NAB without receiving the compensation he was promised.

23.    On November 1, 2019, Owens tendered his resignation with NAB.

24.    Due to ongoing work NAB still requested Owens to perform, which Owens did

perform, Owens submitted a second resignation, by way of formal letter on January 4, 2020,

thanking NAB for his experience and that he was willing to provide NAB with two additional

months for a transition period so as not to disadvantage NAB. However, NAB never

responded to Owens’ offer in this regard (or his second resignation), so Owens prepared to

depart NAB two weeks after delivery of his second resignation.




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25.    On January 10, 2020, at the request of Gardner, Owens met with Gardner and Kirk

Haggarty, NAB’s Chief Financial Officer, (“Haggarty”) to discuss Owens’ resignation and

Gardner/NAB’s desire that Owens stay on with NAB.

26.    On January 15, 2020, Owens sent an email to Gardner thanking him for the

conversation and reiterated his desire to leave NAB.

27.    Owens had not heard from anyone at NAB regarding his offer to stay through the

end of February, so he continued to prepare for his last date of employment on January 17,

2020. On January 17, 2020, having not heard from anyone at NAB, Owens sought out

Haggarty or Gardner to discern what he needed to do to turn in his badge, conduct an exit

interview and anything else expect of an employee on their last day. Haggarty advised

Owens that Gardner thought Owens “was bluffing” when he tendered his resignation.

Haggarty asked Owens to stay on until the end of February.

28.    On January 21, 2020, Haggarty sent Owens an email confirming that Owens should

stay on until the end of February and that he should have another discussion with Gardner

in person at NAB’s corporate sponsored trip in Cabo San Lucas.

29.    Owens attended NAB’s corporate trip to Cabo San Lucas to speak with Gardner, at

Haggarty’s request, but Gardner did not discuss Owens’ departure or employment.

Throughout the Cabos trip, top NAB executives drank alcohol and disclosed certain

information concerning: (i) women within the company, (ii) those individuals who were not

invited to Cabo, and (iii) ongoing various litigation against NAB.



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30.    After the Cabo trip, in February 2020, Gardner requested that Owens meet him for

drinks at Market in Birmingham, MI to which Owens agreed. At that time, Owens advised

Gardner that he was offered employment with SpotOn, a California company, which he was

seriously considering accepting. Gardner voiced no objection of any kind to Owens

indicating he would likely accept the SpotOn offer and acknowledged that he would

understand if Owens accepted the offer from SpotOn. However, in another effort to keep

Owens, Gardner made Owens an offer to stay on at NAB that included a “multiple of his

salary” when NAB was sold which Gardner stated would likely be sometime in 2021.

Owens was never advised what exactly his “multiple of his salary” bonus would be and,

given the track record of Defendants to not pay any bonus or variable compensation

(despite their representations they would), Owens did not believe he would ever receive this

“multiple of salary” bonus.

31.    A few days later, Owens sent Gardner an email thanking him for the offer but that

staying on with NAB would not be the best decision for him or his family. Owens wished

Gardner well. Owens received no response from Gardner.

32.    On March 4, 2020, Owens started employment with SpotOn.

33.    NAB and Gardner knew that Owens started employment with SpotOn in March 2020.

34.    NAB and Gardner never notified Owens that they thought Owens’ employment with

SpotOn violated any term or condition of his purported employment contract with NAB.




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35.    Since Owens’ departure from NAB, and PM continuing on as an agent for NAB,

Plaintiffs have:

                 (i) boarded eleven new merchants with NAB;

                 (ii) taken countless calls from NAB/CDITech to provide regular and significant

       assistance on training, support, sales and answer frequent questions on various

       matters and issues;

                 (iii) offered to pick up NAB/CDITech hardware and store it during the covid-19

       health pandemic which has shut down many customers of NAB;

                 (iv) offered NAB/CDITech assistance on anything they needed during the

       health pandemic;

                 (v) offered NAB/CDITech the ability to extend zero-cost online ordering

       through 2020 with payment terms on the initial set up costs;

                 (vi) offered to assist in finalizing a new arrangement with NAB/CDITech and

       SpotOn that would benefit both companies;

                 (vii) offered to hire employees directly responsible for installing and

       supporting EmaginePOS so that NAB/CDITech could continue to sell their product

       and the SpotOn team would handle installations and support on NAB/CDITech’s

       behalf;




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             (viii) participated in lengthy conference calls with a merchant to set up an

      effective loyalty program for NAB/CDITech customers to drive sales up using loyalty

      and spent significant time with NAB/CDITech employees discussing same;

             (ix) had SpotOn development team get on a call with NAB/CDITech and

      develop a custom report so that NAB/CDITech would not lose the 15th location of the

      JL Beers deal;

             (x) spent countless hours launching a charitable program and gift card sales

      for multiple NAB/CDITech customers;

             (xi) donated extensive time and money to deliver 200 pizzas a day, for three

      days, to feed the first responders at four local hospitals’ emergency rooms during the

      coronavirus national health pandemic in an effort to help an NAB/CDITech customer

      create goodwill and drive sales; and

             (xii) offered to work with SpotOn to suspend SpotOn payments for any

      merchants that were closed so that NAB/CDITech would not be billed for merchants

      who were not open (so long as NAB/CDITech extended that courtesy to the effected

      merchants).

36.   On April 21, 2020, Owens received an aggressive and threatening letter from NAB’s

in-house attorney Earl Johnson claiming that Owens had violated certain terms and

conditions of his employment and agent contract with NAB.




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37.    There were no facts provided by NAB to substantiate any of NAB’s claims; and, after

discussions with NAB’s legal counsel it was clear that NAB failed to conduct any due

diligence prior to making such claims.

38.    Because notice was never provided to Plaintiffs and this was the first time Plaintiffs

had heard of any violation of any term of either the purported employment or agent

contracts with NAB, and that such accusations came from NAB’s attorney, Owens hired an

attorney. Owens also contacted Gardner directly in an effort to address any misinformation

under which NAB was clearly operating so that whatever “perceived issue” by NAB could be

addressed and resolved amicably. However, Gardner refused to even respond to Owens

and refused to schedule a meeting in an effort to resolve the matter.

39.    Moreover, rather than engage in any good faith attempt at resolution of NAB’s

sudden and unsubstantiated accusations, particularly after all of Owens’ efforts to assist

NAB during the national health pandemic, on May 16, 2020 Gardner and another NAB

attorney, David Greenberg, contacted Owens’ new employer SpotOn and threatened them

that if SpotOn did not immediately terminate Owens, pursuant to an alleged noncompete,

that NAB would sue SpotOn.

40.    The following morning on May 17, 2020, NAB persisted in their threats and

intimidation against SpotOn and sent an email to SpotOn demanding and threatening to

know what SpotOn was going to do about NAB’s demand that SpotOn terminate Owens.




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41.       SpotOn succumbed to NAB’s threats that same day and notified Owens on May 17,

2020 that it was terminating Owens’ employment.

42.       Owens was making $250,000.00 annually with SpotOn, plus significant benefits

including, but not limited to, stocks, 6% employer matching of 401k, and health insurance

for Owens, his wife and child(ren).

43.       Subsequent to NAB getting Owens fired from his new employment, NAB then

unilaterally withheld Owens’ residuals under his agent contract, by and through Plaintiff PM,

ultimately denying Owens any income whatsoever1.

44.       Rather than attempt any resolution, in good faith whatsoever, including on June 11,

2020 during a call between the parties respective legal counsel, Defendants instead

persisted in their unlawful behavior and bad faith by reaching out to another entity with

whom Owens does business to yet again tortiously interfere with Owens’ business

relationships and opportunities. Furthermore, Greenberg, a New York attorney, after being

made aware that Plaintiffs were represented by counsel, directly contacted Plaintiffs by

letter.


1
 After withholding significant residual payments to Plaintiff PM, NAB has since provided
some residual payments to Plaintiff but continues to engage in gamesmanship and deceitful
behavior, taunting Plaintiff in a sick, disturbing scheme to deny him any income whatsoever
during a national health pandemic. However, NAB has never provided a rationale or
detailed accounting for withholding of any residuals whatsoever. Plaintiffs is suffering grave
and irreparable harm as a result of Defendants intentional, malicious behavior to deny him
any income whatsoever. Plaintiffs seeks an emergency order from this Court directing NAB
to pay all outstanding residuals within three days and to pay all future residuals timely
pending adjudication of this matter.

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                                         COUNT I
      Tortious Interference with a Contract or Business Relationship or Expectancy
                                   As to All Defendants

45.     Plaintiffs reallege and incorporate the above paragraphs by reference as if fully set

forth herein.

46.     Defendants knew of the contracts and business relationships and expectancies

between Plaintiff Owens and SpotOn.

47.     By targeting, threatening, harassing and intimidating SpotOn, Defendants

intentionally, improperly and maliciously interfered with the contracts and business

relationships and expectancies between Plaintiff Owens and SpotOn.

48.     Defendants actions intended to, and did, interfere with Plaintiff Owens’ contracts and

business relationships and expectancies, causing SpotOn’s breach, disruption or

termination.

49.     As a direct and proximate result of Defendants’ wrongful conduct, Plaintiff Owens

has suffered substantial and irreparable economic injury, loss of contracts, loss of business

expectancies, loss of salary, loss of benefits, loss of stocks, loss of health insurance for

Owens’ and his family, harm to his business reputation, loss of esteem and standing in the

community and loss of business opportunities. Plaintiff Owens is also entitled to exemplary

damages.




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                                       COUNT II
                           Fraud and Fraudulent Inducement
                           As to Defendants NAB and Gardner

50.    Plaintiffs reallege and incorporate the above paragraphs by reference as if fully set

forth herein.

51.    Defendants made a material representation regarding the terms and conditions of

Plaintiff Owens’ offer of employment with NAB, including but not limited to, Plaintiff Owens’

compensation.

52.    Plaintiff Owens compensation, specifically his compensation bonus scale, was false.

53.    Defendants knew it was false, or made it recklessly without knowledge of its truth.

54.    The representation was made with the intent that Plaintiff Owens’ would act upon it,

and Plaintiff Owens did act in reliance upon the representation, which caused Plaintiff

Owens to suffer significant damages.

                                         COUNT III
                                    Breach of Contract
                                   As to Defendant NAB

55.    Plaintiffs reallege and incorporate the above paragraphs by reference as if fully set

forth herein.

56.    On or about June 12, 2017, Defendant NAB and Plaintiff PM entered into an Agent

Agreement wherein Plaintiff PM would identify prospective merchants in an effort to sell

such prospective merchants NAB credit card processing services. (Exh. B, Agent

Agreement.)



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57.     The Agreement sets forth the compensation that Plaintiff PM is to receive for such

services.

58.     Defendant NAB failed to compensate Plaintiff PM pursuant to the terms of said

Agreement.

59.     Defendant NAB’s breach was intentional and knowingly.

60.     Plaintiff PM has suffered, and continues to suffer, damages as a result of Defendant

NAB’s breach of contract.


                                         COUNT IV
                                     Civil Conspiracy
                                    As to All Defendants

61.     Plaintiffs reallege and incorporate the above and below paragraphs by reference as

if fully set forth herein.

62.     At all relevant times herein, Gardner and Greenberg acted in concert with one

another.

63.     At all relevant times herein, Gardner and Greenberg acted in concert with one

another in order to accomplish an unlawful purpose of tortiously interfering with Owens’

employment with SpotOn by threatening and intimidating SpotOn in order to get SpotOn to

terminate Owens’ employment.

64.     During the several months that Defendants knew Owens was working at SpotOn,

Defendants never contacted Owens to notify him of their newfound contention that a

purported noncompete was allegedly violated.

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65.    At all relevant times herein, Gardner and Greenberg knew that the purported

“noncompete” was unenforceable, invalid, void and/or waived by NAB.

66.    Defendants maliciously intended to, and did, cause harm to Owens and did so for an

unlawful purpose, or, by unlawful means.


                                         COUNT V
                                       Defamation
                                   As to All Defendants

67.    Plaintiffs reallege and incorporate the above paragraphs by reference as if fully set

forth herein.

68.    Defendants have, and continue to, intentionally make false and defamatory

statements against Owens to third parties regarding (i) him allegedly violating a

noncompete; and (ii) repeated negative comments about his work and work ethic which

Defendants know to be false and defamatory.

69.    Owens has been severely and irreparably economically harmed by such defamation

in his reputation by such false statements.


                                         COUNT VI
                       Intentional Infliction of Emotional Distress
                                  As to All Defendants

70.    Plaintiffs reallege and incorporate the above paragraphs by reference as if fully set

forth herein.




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71.    Each Defendant’s conduct, as outlined above, was intentional or reckless. The

Defendants conduct as outlined above was extreme, outrageous, and beyond all possible

bounds of decency, and have such character as to be intolerable in a civilized society.

72.    The Defendants’ conduct as outlined above, was not for any proper purpose.

73.    The Defendants’ conduct caused the severe and serious emotional distress of

Owens.

74.    The Defendants’ conduct in this matter, which proximately caused Owens’ injuries

and damages, was grossly negligent because it was so reckless that it demonstrated a

substantial lack of concern for the Owens’ physical and emotional well-being.

75.    As a direct and proximate result of Defendants’ conduct, Owens suffered, and

continues to suffer, humiliation, mortification, overwhelming stress, embarrassment,

sleeplessness, anxiety and other emotion and physical damage.



                                        COUNT VII
                                    Unfair Competition
                     Section 43(a) of the Lanham Act, 15 U.S.C. 1125
                                   As to All Defendants

76.    Plaintiffs reallege and incorporate the above paragraphs by reference as if fully set

forth herein.

77.    Defendants made a false, misleading and deceptive statement of fact concerning

Plaintiff’s noncompete, Plaintiff’s business strategy and proprietary business skills and




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acumen in an effort to obtain an unfair business advantage over Plaintiffs, and Plaintiff

Owens’ new employer SpotOn.

78.    Defendants’ false and misleading statements have a tendency to mislead or deceive

people.

79.    Defendants’ statements are material in that such statements will likely influence the

deceived person’s business decisions.


       WHEREFORE, Plaintiff prays that this Court, after a trial by jury, enter an award in

his favor and against the Defendants for actual, compensatory, consequential, incidental

and exemplary damages as a result of Defendants’ unlawful and malicious conduct as

identified in each of the aforementioned causes of action, as well as all other remedies and

damages as authorized by law, including but not limited to, attorney fees and costs.

                                           Respectfully Submitted,

                                           /s/ Natalie C. Qandah
                                           Natalie C. Qandah (P58434)
                                           Vida Law Group, PLLC
                                           Attorneys for Plaintiffs
                                           43050 Ford Rd., Suite 160
                                           Canton, MI 48187
                                           PH: (734) 456-9004
                                           natalie@vidalawpllc.com

                                           Verified by Duane Owens’
                                           and Partners Matters LLC:

                                           /s/ Duane Owens

Dated: July 16, 2020

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                                          JURY DEMAND

           Plaintiff hereby respectfully demands a trial by jury on all claims and issues so

triable.

                                               Respectfully Submitted,

                                               /s/ Natalie C. Qandah
                                               Natalie C. Qandah (P58434)
                                               Vida Law Group, PLLC
                                               Attorneys for Plaintiffs
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Dated: July 16, 2020




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                                                                                                            EXHIBIT A




March 28, 2016

Duane Owens


Re: Offer of Employment


Dear Duane,

Congratulations! On behalf of CDI Tech, a wholly owned subsidiary of North American Bancard, LLC (“NAB”), we
are very pleased to confirm our offer of employment to you.

Below is a summary of your offer of employment for the General Manager position with a start date to be
determined. In this regular full-time position, you will report to Kirk Haggarty, NAB Chief Financial Officer.

If you accept this offer of employment, you will receive the following:
• An annual salary of $125,000 to be paid biweekly, in accordance with the Company’s payroll practices.
• You will be eligible to participate in the Incentive Plan as outlined below:
     Base Level EBITDA - $350,000
     $350,000-$1 million – 15% of the incremental EBITDA
     $1 million-$2 million – 10% of the incremental EBITDA
     Over $2 million –To Be Determined
     Program runs through 12/31/2017 with re-evaluation at program end.
     Pro-rated for 2016
     Must be in the position and in good standing to be eligible for incentive plan.

•   Eligible to join the NAB Benefit Plan the first of the month after 30 days of employment.
•   Eligible for participation in the Company’s 401(k) Savings Plan the first of the month after 30 days of
    employment, in accordance with the terms and conditions of the plan. Please note that you will be
    automatically enrolled in the Company 401(k) Savings Plan at 3% of your earnings, effective on your eligibility
    date unless you decline participation.
•   Eligible for Company designated holidays in accordance with the terms of our holiday policy.
•   Eligible for 1 Floating Holiday.
•   Eligible for 3 paid Sick/Personal Days, which are pro-rated based on hire date.
•   After 90 days of employment, eligible for 160 hours of paid vacation annually to be accrued per pay period.

A more comprehensive explanation of your benefits plan will be presented to you during your onboarding process.

Your offer of employment is contingent upon your signing and agreeing to and/or complying with each of the
following:

•   Employee Non-Disclosure and Non-Solicitation Agreement
•   Employee Information Form
•   Employee Handbook
•   Proof of Identity and Employment Eligibility (I-9 Documentation)
•   Background Check and Drug Screening – your acceptance of this position is with the understanding that the
    final appointment is contingent upon the successful completion of the background investigation and drug
    screening process. Unsatisfactory results may result in withdrawal of the employment offer.

Employment At Will: While I have every expectation that you will have a successful career with us, I must remind
you that your employment with the Company is on an "at will" basis, which means that either of us may choose to
terminate your employment at any time, with or without cause, with or without notice and without compensation
except for time worked. Accordingly, nothing in this offer letter should be construed as creating a contract of
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employment, or employment for a specified term. Please note that all compensation, benefits and other terms of
employment are subject to change from time to time, as the Company determines.

If you find our offer to be acceptable, please sign this letter and return both pages along with your signed new
hire paperwork to newhire.recruiting@nabancard.com or fax to 248.283.6104 by Tuesday, April 5, 2016, or the
offer will be deemed withdrawn. Please retain a copy of the offer letter for your records.

We look forward to your accepting this offer, and in the meantime, should you have any questions or concerns
regarding this Offer of Employment, please contact my office.

Sincerely,

Kirk Haggarty, NAB Chief Financial Officer
248-269-6000 Ext 1913
khaggarty@nabancard.com

cc: Ron Kasnow, Julia Kellogg



                                                     _________________________________________
                                             Duane Owens                                  Date
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                                                                     EXHIBIT B
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